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            In the United States Court of Federal Claims
                                    No. 13-434 C

                              (Filed October 18, 2013)

*********************
U.S. HOME CORPORATION,    *
BEECHWOOD AT EDISON, LLC, *
BEECHWOOD SHOPPING        *
CENTER, LLC,              *
                          *
              Plaintiffs, *
                          *
          v.              *
                          *
THE UNITED STATES,        *
                          *
              Defendant.  *
*********************

                             SCHEDULING ORDER

       On October 17, 2013, plaintiffs filed a “Notice of Motion to Substitute
Counsel” and attachments thereto. The court deems this notice to be plaintiffs’
motion to substitute Brian S. Wolfson for Andrew Ullrich as counsel of record in
this matter. Plaintiffs’ motion, filed pursuant to RCFC 83.1(c)(4), complies with
the substance, if not the form, of RCFC 83.1(c)(4)(i)(I). See RCFC 83.1(c)(4)(i)(I)
(requiring an “affidavit of appointment”). The court therefore accepts plaintiffs’
motion to substitute counsel as an adequate response to the court’s show cause
order issued October 8, 2013. The Clerk’s Office shall substitute Brian S. Wolfson
for Andrew Ullrich as counsel of record for plaintiffs in this matter.

       Additionally, plaintiffs’ motion contains a request that their response to
defendant’s dispositive motion, which has been stricken from the docket as a
defective filing, be reinstated. The court, however, believes that to maintain docket
clarity plaintiffs must re-file their response brief. This filing will trigger a reply
deadline for defendant consistent with this court’s rules.
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Accordingly, it is hereby ORDERED that:

(1)   Plaintiffs’ Motion to Substitute Counsel, filed October 17, 2013, is
      GRANTED;

(2)   The Clerk’s Office shall SUBSTITUTE Brian S. Wolfson for
      Andrew Ullrich as counsel of record for plaintiffs in this matter;

(3)   Plaintiffs shall FILE their Response to Defendant’s Motion to
      Dismiss Plaintiffs’ Complaint on or before October 22, 2013, and
      defendant’s reply deadline shall thereafter be set pursuant to the
      court’s rules.



                                             /s/Lynn J. Bush
                                             LYNN J. BUSH
                                             Judge




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